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                                                                                                                         State's Eafiibit#1
                                                            f?                      s~

 THB STf1TE OF TEXAS                                                                                    iN THE DISTRICT C011RT

                                                                                                         94i~ JUDICIAL DISTRICT

 CARL FERRER                                                                                          NUECES COUNTY,TEXAS

                                                  PLEA BA12GAiN AGI2EENIENT

T'~ THE HONORi1BLE 3UDGE OF SAID COURT:

     I,Cat•1 Fe~•i~e~; the u~ideisigned Defe~~dant, Laving hats the advice ofcool;sel, hereby ~~e to t ie followilzg;

t. ~, Ca~~l Fet~~t; will el~ter a plea ofguilty to Mot3ey Lain~deri~lg as alleged in the above-F~efe~~nced cattle,

2. 1, Carl Fer7•e►; will give fi~if, complete, ai d ttiidifu[ evidence cottcei-~ting my knowledge of a~sy and all offenses coinrnitted
   by airy and all co-defenda~lts identified 6y Texas, California, ar federal authorities. This agreement includes testimony
   d~ui~~g fis•ial, pre-t~•ial, post-conviction, appellate a~~d ~~e-q•iaE proceedings iF~ any Court state or federal. Carl Ferrer, the
   District Attonzey of Nueces, County, Texas, [hereinafter Tine District Attorney] a~~d the Texas Attot~ney Getlet~al agree that
   Carl Pener shall be given "t~se immunity" as to any statements made by him puisua~~t to t~~is agreeme~~t, including
   statements made to Texas authorities acid du►~ing trial, pre-trial, post-co~lviction, appellate a~ad ~~e-h•ial proceedi►lgs giveTa in
   a~~y Terms court or hearing. Tlie Coot#, by acceptance of this plea agt~ee~nei~t confess use immunity wide rospect to file
   afarei~~entioned statements coe~eilsive with Defei~da~lt's right agai~Ist self-incrimination guarulteed by the Fift(1
   Amendment of die U~uted States Constihatio~~.

3. I, Ca~~i Fei7~r, agree that I will not discl~e the existence ofthe investigations thaf Dave insulted in this plea, die substance of
   the i~~vestigatioF~s that have res~ilted in this plea, or• the identity of a~~y potential fiahi~~e targets of f[~e investigations that lave
   resulted in ti~is plea, except as nay be ~~uiz~eci to effechiate withdrawal finzn the Joint Defe~ise ~greentent Co which Ca~•1
   Fe~re~• is a pa~iy.

4. I, Ca~•1 Ferrel•, will additionally give swonz written or recorded state~tteiit(s} detailing ~u3y additional facts if that is requested
   by a~~y attorney fot~ Texas or California or federal Assista~zt U.S. At#o~~iey.

5. I, Car] Fer~~~•, wil[ immediately take steps within my power• to pe~lna~~ently sI~i~t down Backpage.com iti all counU'ies in
   wl~ic]} it is operating, a~~d will farce no actiof~ to resume operation of Backpage.com or airy sunilar website in the firture.
   "Similar website" is defined as airy website or ~veb hosting platform that i~ivalves adult content, including classified
   postings or advertisements for dating, pe~sona~s, massage, escorts, oe a~~y other sexually oriented service.

6. I, Ca~•1 Fei~•er, will provide all available ir~fo~matio~i to state aid fecfet~al law e~lfb~~celnent ~~gacding the la~•gest pu~~hasers of
   advertisements an Backpage.com.

7. 3, Carl FecY~er ~~itl assist bofli state and federal law enforcement in the seizure of all domain mines registered to
   Backpage.con~, LLC a~~d all relahed companies.

8. I, Carl Ferrer, wi11 identify all forfeitable assets of ~~ry own, co-defenda~~ts of whichIlave knowledge, Backpage.com,
   LLC, a~~d all related catnpai7ies to state and federal law cnfor~ceanent         ~~`~C ~° !~O ~~ C.`, C ~ ~' C ~ t ~ ~~G ~~ ~~ `~             ~

9. I, Carl Ferrer, will plead Bacicpage.cam LLC and all specified companies in {  I~~t~¢ko 1 Count of Trafficking of
   Persons, TFC 20A.02, ar~d 1 Count of Engaging in Orga~~ized Crimir~aE Activity with an uuderiyu~g criminal activity of
   Money Laundering, TPC 34.02.
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                                                                                                                      State's Exhibit#1
10. 1, Ca~'1 Ferrer, ag~~ dial if 16i~ach the terms ofPhis plea agreement or if I intentionally, luiowingly ot• recklessly conceal,
    misrepresent, or misstate any materiaC fact releva~it to this plea agree►nent, the Court may sentence me up to the maximum
    punishment allowed by )aw for asecond-degree felony, 2-20 yeas in the Texas Department of Ci•imiiial Justice--
    Institutional DivisiolY.

    In retwn and in cotasidez'ation thereof, the State of Texas agi~s t1~at:

1l. If there is a dispute re~a~•dii~g wlietfler Carl Ferree• has n et his obligations t2~~der this LtgreeEn~nt, the C`ou~~
    shall determine whether tine defendant lzas failed to co~~3ply with this a~*reement, including ~~~hether tl~e
    defendant his beey~ freEthful.

12. Tlie Court a~~ees to defertlie senfiencing ofCa►•I Ferrer uzitil he has had the opportu~lity to comply wi~ti his obligations under
    this AgY~eement, ti~rou~ completion ot'd~e hials against tine other co-defe~~dants discussed in paras~~apl~ 2 above. The Court
    a~~ees Yhat Ca~~{ Ferrer will be se~~tenced fi~~st i~~ t11e federal matter,

13. In tl~e event Ca~~I I'e~~~r is sentenced to prison in the federal system, he ►nay serve Isis Tesas prison sentence in a federal
    facrlity. The sentence Ca~•1 Fe►~~a• receives in this ~nat#er shaEl iu~i concun~ent to the se~itence he ~ceives in the federal neat#er.

14. Neither d1e Cou~~, the Dish'ict Attorney or the Attorney Gene~•a1 of Texas will conununicate to the Texas Board of Pardon
    atzd Paroles a protest to Carl Ferrer being granted parole.

15. T'he Cou~~, the Dis(rict Attorney, and the Atton~ey Ge~~e~~al ofTexas agree that Carl Fearer may be released on bond, subject
    to necessary bond cotiditiot~s, du1•i~lg die time period after tae has been sentel~ced by Texas but befo~~e his federal prison
    sentence begins. If Ca~~t Fet~•er is not sentenced to prison in the federal system, his Texas setatence i~~ TDCJInstihitional
    Division will begin immediately upon sentencing.

16. Carl Fert~r, the District Attonzey, and the Attoi7ley Ger~eial of Te~cas ag~~e that Car! Fen~ei• will plead guilty to 1 Couut of
    Money I,auuderilag, Texas Penal Code, Section 34.02, a Second Dag~ee Felony. Carl Fea7~er, the District Attorney, and the
    Attorney Gene~~1 of Texas as~ce #trot, subject to Par~~n~ph I0 above, i« excha~~ge for his plea of ~illy and od~er tet-~ns
    stated l~ei~in, Carl I'err e~~ will be senteiioed to a cap of 5 yeas u1the Texas Depaztment of Coz~~ctians I~ls~it~Etio~~al Division.
    Carl FeiY~er will make no application for probation oz• deferred adjtrdicatioY~. Cam•) Fen~e►•, tine Dis~irict Attott~ey, a~~cl tl~e
    AttotYzey General of Texas s1~a11 have the rigf3t to at~gue for az~y se~lte~~ce within the cap of 5 years, fiom a ~ni~umum of 2
    years to a maxii~ium of 5 years in the Texas Deparhnei~t of Cozrections insfihrtional T~ivision at tl~e time of sentencing. The
    District AttotYrey acid tlic Attorney Genei~l of Te:cas shall in goocE faith co~~sidee the nariise a~zd eaetez~t of the Defendant's
    cooperation in whatever• sentencing i~omtnendatron is made to the cotatt.

Other Terns: Fine of $ 3 ,500 due at sentencing and Court Costs.


     THE UNDERSIGNED eertif~~ they lave READ ALL TERMS oft7ie above ap~eemei~t, a~~d the a~•eement contains ALL
the teems of tl~e plea ba~•gain to i~~l~ich they have agreed.

Criminal District Attoi~~ey
Nueces Co nty, Te7cas               ';        'i                               Defendant
                   ~.                     ~                                      t~


Asst. riminal Dish•~ct Attoi~ley                                               A o~7iey for Defef~da~it                               "--~ ~_
